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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
                                         Case No. 1:20-cv-03010-APM
                                         HON. AMIT P. MEHTA
v.

GOOGLE LLC,

                        Defendant.


              THE UNITED STATES’ REPLY IN SUPPORT OF ITS
            MOTION FOR SANCTIONS AGAINST GOOGLE, LLC AND
     AN EVIDENTIARY HEARING TO DETERMINE THE APPROPRIATE RELIEF




March 24, 2023
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       Google employees routinely direct sensitive business conversations to “off the record”

chats to ensure those conversations evade discovery, as occurred here. Google does not dispute

this. Nor does Google disagree that it automatically destroyed these “history off” chats every

24 hours for nearly four years. During that time, Google was not only under investigation by the

Department of Justice, but was also in active litigation against a variety of plaintiffs across the

country. Google finally ceased its daily deletion of these “off the record” chats on the eve of the

United States filing its Motion for Sanctions (ECF No. 495). But this is too late; Google has

already spoliated significant and important evidence in this case.

       Unable to counter the troubling facts related to its four years’ long practice spoliation,

Google responds to the United States’ Motion in two ways. First, rather than accept

responsibility for its actions, Google blames the United States for not deciphering sooner the fact

and scope of Google’s spoliation. Second, Google argues that its longstanding auto-deletion of

“history off” chats, including for all 129 custodians identified for this litigation, was

“reasonable.” Neither argument sanitizes Google’s conduct nor survives legal scrutiny.

       Google’s timing argument is a red herring. As an initial matter, Google’s primary focus

on timing betrays what is now apparent: Google violated its document retention and discovery

obligations in material and irrecoverable ways. To now claim that the United States should have

raised this issue earlier does not respond to the question of whether Google violated its

obligations under the Federal Rules of Civil Procedure. It did. Google violated Rule 37(e) for

nearly four years starting in May 2019 (when it reasonably anticipated litigation and began

asserting privilege over withheld documents) through February 2023 (when Google finally began

to preserve all chats for employees on litigation hold, after disclosing the entirety of its chat

policy to the United States weeks prior and being faced with a sanctions motion).
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        Thus, when the United States brought its Motion is not dispositive of whether Google

violated Rule 37(e); instead, Google’s conduct answers that question. As to timing, the record is

clear that after Google disclosed its chat-specific retention policy in January 2023, the United

States timely moved for relief. Google’s suggestion that the United States should have more

quickly pieced together Google’s insufficient and misleading disclosures, made to many parties

in various places, rings hollow. The Federal Rules of Civil Procedure direct parties to behave in

specific ways with respect to their preservation obligations in each case. That Google routinely

failed to adhere to those obligations is Google’s responsibility alone.

        Second, Google’s decision to systematically delete an entire category of documents based

on its own “determination that history-off chats are less likely to be substantive” is not

reasonable and prejudiced the United States. See ECF No. 529 (“Def. Br.”), at 6. Companies

cannot tailor their preservation practices based on a subjective, unilateral determination of what

categories of evidence should be disclosed in discovery. This is not an onerous burden to put on

Google; it is a basic tenet of the Federal Rules of Civil Procedure.

        The lack of reasonability is made even more apparent from a recent production from

Google. On March 17, 2023, after our Motion was filed, Google produced some of the materials

previously provided to the Epic plaintiffs.1 The United States is still reviewing this production of

nearly 20,000 chats.2 So far, these materials further confirm that (1) some of the destroyed chats


1
    Epic Games, Inc. v. Google, LLC, No. 3:20-cv-5671 (N.D. Cal), as consolidated, In Re:
    Google Play Store Antitrust Litig., No. 3:21-md-2981 (N.D. Cal) (together, “Epic”). Days
    after the United States filed its motion, Google was ordered in Epic to search preserved chats,
    as well as deleted chats temporarily retained in backup files, for chat (1) responsive to agreed-
    upon search strings and (2) Court ordered terms such as “off the record” and “history off.” See
    Reply Exhibit (“Rep. Ex.”) 53, Epic Docket, ECF No. 454 (Feb. 15, 2023); Rep. Ex. 54 (Mar.
    17, 2022 letter from Google providing materials on request).
2
    The United States promptly began review of these materials and its review is ongoing. Rather
    than delay this reply, the United States simply notes that should completion of its review
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were highly relevant to the issues in this case and (2) many Google employees intentionally

moved chats “off the record” to evade discovery. For example, the head of Platforms &

Ecosystems Strategy for Android wrote in a recently produced chat that she discussed Revenue

Share Agreements (“RSAs”)—one of the contracts at the core of this case—“all day” with

“history off,” despite knowing that she is subject to multiple legal holds. Rep. Ex. 55, GOOG1-

00012951, at -952. In another, Google’s Finance Director (and a deponent in this case) noted that

“the DOJ case is making the content very sensitive to share via email these days.” Rep. Ex. 56,

GOOG-DOJ-32681229, at -229; see ECF No. 495-1 (“Mot.”), at 5–6.

       Indeed, even Sundar Pichai, Google’s CEO, sought to move his substantive conversation

with other executives to history off. Rep. Ex. 57, GOOG1-00012933, at -934. This is

unsurprising because, as Google recognized, its employees used “history off” chats to

“communicate with less care than you might with email,” Rep. Ex. 58, GOOG1-00013057, at -

060, and regularly turned “history off so that we can speak (more) freely.” Rep. Ex 59, GOOG1-

00012944, -945.

       Notwithstanding a lack of relevant legal support for its position, Google effectively

requests that this court endorse its improper conduct. Accordingly, the United States respectfully

requests that the Court (1) hold that Google has engaged in spoliation in violation of Rule 37(e);

(2) order an evidentiary hearing to assess the appropriate sanctions to remedy Google’s

spoliation; and (3) order Google to provide further information about custodians’ “history off”

chat practices, through written declarations and oral testimony, in advance of the requested

hearing.




   warrant discussion of any additional materials facts, it may seek leave of the Court to
   supplement this brief with those limited additional facts and related argument.

                                                 3
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I.     The United States’ Motion For Sanctions Is Timely

       As an initial matter, the United States’ Motion is timely. Its timing is a direct result of

Google’s failure to properly and fully disclose its chat practices and sanctionable conduct.

       Google spends much of its response blaming the United States for not recognizing

Google’s misconduct earlier and arguing that the Motion’s timing shields Google from sanctions.

See Def. Br. at 19, 23. This argument is twice wrong. First, the Federal Rules do not contemplate

a deadline for Rule 37(e) spoliation motions. Second, had Google fully disclosed its chat

retention policy to the United States, the pending Motion would have undoubtedly been filed

earlier. Any purported delay is properly attributable to Google’s misconduct, evidenced by

Google’s failure to fully disclose its chat auto-deletion policy until January 2023.

       Google’s timeliness arguments thus boil down to the proposition that the United States

should have known earlier that the company’s statements regarding chat preservation in this case

were false. That is not the law. See In re Facebook, Inc. Cons. Priv. User Profile Litig., 2023 WL

1871107, at *28 (N.D. Cal. Feb. 9, 2023) (“Discovery—and the court system as a whole—

depend on the good faith of the parties.”).

       A.      Rule 37(e) Focuses On Conduct, Not Timing

       Rule 37(e) focuses on whether a party’s conduct is sanctionable, not on the timing of

when that sanctionable conduct is identified. FED. R. CIV. P. 37(e); see GMS Indus. Supply, Inc.

v. G&S Supply, LLC, 2022 WL 853626, *4 (E.D. Va. Mar. 22, 2022) (“Rule 37 ‘does not contain

any specific reference to the timing of the filing of a motion seeking spoliation sanctions.’”

(quoting Goodman v. Praxair Servs., 632 F. Supp. 2d 494, 506 (D. Md. 2009)).

       The lack of a timing requirement for Rule 37(e) makes sense. An explicit timing

requirement would provide a windfall to a spoliating party who obscures destruction of evidence



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until discovery closed. And enabling parties to benefit from evidence destruction is inconsistent

with the Federal Rules and their underlying intent. None of the cases that Google cites reflect

otherwise.3

        Google seems to suggest that the United States should have rushed to the Court at the

first hint of any potential issue. Notwithstanding that Google’s preferred approach would flood

courts with sanctions motions over what are often routine discovery conflicts, it is sensible that

“a party need not file a motion at the first inkling of spoliation but is entitled to gather evidence

. . . before filing a motion.” Sec. Alarm Fin. Enters., L.P. v. Alarm Prot. Tech., LLC, 2016 WL

7115911, *1 (D. Alaska Dec. 6, 2016). Filing a motion “as soon as reasonably possible” after

discovering necessary facts regarding Google’s spoliation, as the United States did, renders the

Motion timely. Goodman, 632 F. Supp. 2d at 509.

        That fact discovery is closed and summary judgment motions fully briefed—the primary

facts tied to Google’s timing argument—does not make Google’s conduct defensible. The United

States does not seek further fact discovery: the chats are destroyed and cannot be restored. Nor

does the United States seek to extend summary judgment deadlines or the trial date, as delay

only benefits Google and again does not restore the destroyed information. See Mot. at 29 n.26.

Further, the case is bifurcated, and both the parties and the Court contemplated additional

discovery related to remedies—a point that Google does not dispute. See Mot. at 17, 27 n.25.4


3
    Barring one out-of-circuit case, none of the cases to which Google cites for its “unreasonable
    delay” arguments are decided under Rule 37(e). See Def. Br. at 23–24. In the sole case under
    Rule 37(e), Al-Sabah v. Agbodjogbe, 2019 WL 4447235 (D. Md. Sept. 17, 2019), the court
    found defendants’ motion, filed 14 months after the close of discovery, to be both untimely
    and frivolous, as defendants had other versions of the allegedly spoliated materials. Id. at *4–
    5; see Def. Br. at. 23. Google does not dispute that the destroyed chats were never produced
    and are now unrecoverable; ample evidence shows the relevance of the spoliated chats.
4
    The timing of the United States’ motion is consistent with the factors considered by courts
    when assessing the timing of a Rule 37(e) motion, such as how close in time the filing was to
                                                  5
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        Finally, Google asserts no prejudice by the timing of the United States’ Motion,

emphasizing that filing the Motion after the close of discovery is not dispositive. Rather, as the

proceedings in Epic make clear, even had the United States learned of and raised the issue to

Google previously, the company would not have altered its behavior sooner. Indeed, the fact that

Google established an auto-delete policy to avoid the preservation of chats in multiple

litigations—a policy successful until just recently—only underscores that Google’s policy was

difficult to detect, let alone remediate. See, e.g., Mot. Ex. 41, at -310 (Google’s admission that it

has “never” preserved all chats for relevant individuals by turning “history on”).

        B.      Google Did Not Disclose Its Chat Destruction Policy Until January 2023

        Google did not fully disclose its chat retention policy until January 2023. Following that

disclosure, the United States timely moved for relief. The Federal Rules do not absolve Google’s

spoliation because it previously provided partial information about its chat preservation policies.

        Google averred that it “put a legal hold in place” which “suspends auto-deletion” in

November 2019.5 Mot. Ex. 3, at -074. The United States relied on that assertion. Google tries to

minimize its representations by pointing to information Google provided the United States in a

different investigation. Def. Br. at 12–15. Materials from that investigation show that Google

disclosed some, but not all, components of its chat preservation policy over multiple years and

across multiple matters.6 Yet none of these communications explained that (1) chats were set by


    the close of discovery, dispositive motions, or trial; whether a case’s scheduling order sets a
    deadline for spoliation motions; and why the moving party did not earlier file. See GMS, 2022
    WL 853626, at *4; Gruenstein v. Browning, 2022 WL 3213261, *3 (N.D. Ill. June 21, 2022).
5
    The ESI Questionnaire instructed that responses “should reflect an inquiry into actual
    employee practices, and not just the organization’s policies.” Mot. Ex. 3, at -064.
6
    Google’s focus on what the United States learned in the conduct of another investigation is
    noteworthy given Google’s insistence of the separation of investigations. For example,
    Google refused to agree that materials produced in that investigation were deemed as
    produced in this case as well. Rep. Ex. 60 (Aug. 4, 2022 letter from D. Aguilar to G. Safty)
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default to “off the record”; (2) Google had a policy of deleting, every 24 hours, those “off the

record” chats; (3) even if an employee turned “history on,” prior chats in that same thread would

be destroyed; and (4) nearly all custodians regularly used “off the record” chats for substantive

conversations.7 The analysis should end there.

        Nevertheless, it was only after the Epic sanctions motion was filed in October 2022 that

the United States began to learn the full scope of Google’s chat preservation policies and its

employees’ chat practices—all while significant spoliation was continuing in this case. The

United States then promptly questioned Google regarding its chat preservation practices, and

repeatedly followed up even when Google refused to respond. See Mot. Exs. 38, 39. In January

2023, Google finally produced its chat-specific retention policy—which it did not separately

document until November 2020—and admitted that “[a]ll chats that are not on the record are

subject to deletion within 24 hours and are not automatically preserved by a legal hold.” See

Mot. Exs. 27, 40. Thereafter, the United States timely filed its Motion.

        There is no dispute that Google should have disclosed its chat-specific retention policy

earlier. As Google recognizes, the parties engaged in discussions about ESI from 2019 through

2021, Def. Br. at 10–15, reinforcing that Google ignored multiple opportunities to fully disclose

its chat preservation policies, to include at least providing a copy of that policy. See Def. Ex. 10,



    n.2 (explaining that Google’s expert relied on materials produced in another investigation);
    Rep. Ex. 61 (Aug. 9, 2022 email from G. Safty to D. Aguilar) (responding that Google
    disagreed materials produced in one case can be used in another).
7
    See Def. Ex. 11 (asking what steps Google takes to ensure it is preserving “responsive
    conversations from chats . . . as ‘on the record,’”); Def. Ex. 12 (referring back to Google’s
    November 2019 responses to the ESI Questionnaire); Def. Ex. 13 (testifying that she did not
    receive substantive information “as much [on] chat. It’s usually other communication
    forms”); Def. Ex. 14 (noting that “chats not marked ‘on the record’ are not collected and
    produced to the Division” and asking for the number of “on the record” chats preserved); Def.
    Ex. 15 (following up regarding the number of preserved “on the record” chats); Def. Ex. 16
    (stating that Google “has collected a total of 57,739 chats” from custodians).

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¶ 12 (United States inquired about Google’s chat collection process at meet and confers after the

complaint was filed); id. ¶ 15 (documenting uncertainty about scope of chat-related inquiries).

       Still, Google asserts that the United States should have somehow considered information

available in other ways, whether through other plaintiffs in other cases, from separate state

investigators in other investigations, or from online sources. Neither the facts nor the law support

Google’s assertion that the United States had a burden to ferret out Google’s disregard of its

preservation obligations.

       First, Google points to a December 2021 joint case management statement filed in Epic.

Def. Br. at 15–16; Def. Ex. 17. That statement from an unrelated lawsuit documents plaintiffs’

concerns regarding Google’s document preservation, based in part on testimony and chat

productions of Tian Lim, who was never a custodian in this matter. Def. Ex. 17. Further, the Epic

joint case management statement sets out the questions that those plaintiffs requested the court

order Google to answer—many of the same questions asked by the United States in November

2022 and again through its Motion—such as further information regarding Google’s litigation

hold and the chat practices of individual custodians. See id. at 8–9.

       Second, Google refers to letters exchanged during the State of Texas investigation

written months before this suit was filed, and also points to a deposition that the United States

did not attend. Def. Br. 9–11. Google’s Exhibit 6, a letter from Google, shows that it told the

state that the company retained “on-the-record” messages if a custodian is on a legal hold, Def.

Ex. 6, at 3; Google’s Exhibit 7, the state’s response, shows that the state understood “[i]f the user

is on a legal hold, the user is told to mark all chats as on-the-record.” Def. Ex. 7, at 3. Google’s

Exhibit 8, another letter sent by Google, shows its explanation of certain chat settings but also its

failure to explain others, such as the fact that if a custodian turned “history on” midway through



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a conversation, prior chats in the thread would still be deleted after 24 hours. Def. Ex. 8, at 4.

Nothing in the correspondence referenced by Google acknowledges that its custodians’ regular

practice was to conduct “history off” conversations. Instead, Google incorrectly asserts that it

was “taking reasonable and appropriate steps to ensure its custodians’ compliance” with a

litigation hold. Id. at 5.

        Finally, Google cites support pages for its Google Chat product. See Def. Br. at 20. This

website states nothing about Google’s own settings or its litigation hold policies in this case—

which Google said suspended auto-deletion. See, e.g., Mobile Telecomms., Techs., LLC v.

Blackberry Corp., 2015 WL 12698061, at *4 (N.D. Tx. May 19, 2015) (holding defendant had

“no reason” to “search for documents in the public record” given plaintiff’s discovery

representations). Google’s attempts to foist its discovery obligations onto its counterparty to

detect and investigate for itself, through other litigations and the public domain, Google’s

compliance with those obligations upends the Federal Rules of Civil Procedure.

        Nowhere in its 42-page response does Google point to any affirmative representation

made by the United States indicating that it agreed to Google’s destruction of an entire category

of relevant documents. And nowhere in its response does Google contend that it provided the

entirety of its chat policy to the United States prior to January 2023. Not only did the United

States lack full knowledge of Google’s policies until then, but the full scope of Google’s chat

abuse is still being revealed. For example, recently produced chats show that Google discusses

substantive business over chats with third parties—also instructing those third parties to

communicate with care. See, e.g., Rep. Ex. 62, GOOG-DOJ-32662145, at -146 (discussing

           test features and noting that “[h]istory is on now . . . Please communicate with care

given this.”). Moreover, even if the United States had long known of Google’s chat retention



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policies, and it did not, the company never revealed that Google employees regularly avoided

their preservation obligations by moving sensitive conversations “off the record” to avoid the

very discovery obligations that Google continues to assert were met.

          Google’s timing arguments seek to take the Court and the law governing discovery

obligations far afield from the good faith and transparency required by the Federal Rules. This

attempt to recast and shift Google’s burden should be rejected.

II.       Google’s Chat Destruction Policy Was Not Reasonable And Prejudiced The United
          States

          Google does not dispute that, beginning in 2019, it had a duty to preserve evidence

potentially relevant to this litigation. Def. Br. at 25–29.8 Nor does Google dispute that it left in

place its chat destruction policy, i.e., that “history-off chats [would] disappear within 24 hours,”

id. at 26, until January 2023.

          Rule 37(e) provides that a court may sanction a party that fails to “take reasonable steps”

to preserve ESI. Google claims that its chat destruction policy was reasonable and that,

regardless, the United States was not prejudiced. Def. Br. § II–III. The Court should reject both

arguments. It was inherently unreasonable for Google to default most chats to “history off” and

then automatically delete those chats for custodians under a litigation hold. That is especially

true because Google recognized its employees’ use of “history off” chats “to discuss sensitive

topics” and avoid discovery. See Mot. Ex. 2, at -652; Mot. Ex. 9, at -829.9 Indeed, Google



8
      While admitting it had a duty to preserve potentially relevant evidence beginning in 2019,
      Google suggests that the duty was triggered “after the litigation hold was implemented.” Def.
      Br. at 29. That is not correct: Google’s duty to preserve began when it reasonably anticipated
      litigation, no later than May 2019. See Mot. at 6–7. Google offers no response to this point.
9
      See also, e.g., Rep. Ex. 63, GOOG-DOJ-32681572, at -575 (discussing how a conversation
                         should not be shared over email nor copied to additional individuals “so you
      do not get found in discovery . . . and called to courts by mistake”).

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empowered and encouraged them to do so. See Mot. at 1; Mot. Ex. 1, PX-120, at -264.

        As for prejudice, the Court can infer prejudice because the few preserved “off the record”

chats produced recently through the Epic proceedings show that four years of Google’s “off the

record” chats would have revealed significant relevant evidence. Google’s repeated references to

the volume of its production of other categories of documents to suggest a lack of prejudice also

rings hollow. See, e.g., Def. Br. at 3, 5, 29. It is unsurprising that in a case of this magnitude, the

universe of potentially relevant documents is substantial. But neither the quantity of potentially

relevant materials nor the size of its document production authorizes Google to pick and choose

which written communications it prefers to retain and produce. The Federal Rules do not

countenance the type of self-interested systems designs that Google adopted here.

        A. Google’s Instruction To Its Employees To Turn “History On” Is Not Reasonable

        Google’s decisions to turn preservation responsibilities over to its employees without also

ensuring compliance and its failure to suspend the auto-delete function were unreasonable.

                i.      Delegating Its Preservation Obligations To Employees Was
                        Unreasonable

        Because Google cannot dispute that it automatically deleted “history off” chats even after

anticipating litigation in this case, the company argues that its “explicit instructions” regarding

the use of chat in its legal hold were sufficient to show that the company complied with its

discovery obligations. Def. Br. at 26. But Google cannot divest its obligations to its employees,

particularly where it knows that employees routinely use “history off” chats for sensitive

business communications. Apple Inc. v. Samsung, 881 F. Supp. 2d 1132, 1137 (“[I]t generally is

recognized that when a company or organization has a document retention policy, it is obligated

to suspend that policy . . . .” (cleaned up and italics added)); see also DR Distributors, LLC v. 21

Century Smoking, Inc., 513 F. Supp. 3d 839, 933 (N.D. Ill. 2021) (“A litigation hold—whether

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verbal or written—that fails to instruct a party to disable autodeletion functions is not much of a

litigation hold.”); Youngevity Int’l v. Smith, 2020 WL 7048687, *3 (S.D. Cal. July 28, 2020) (“a

litigation hold is only reasonable to the extent it facilitates preservation of ESI”) (citing cases).

        Google’s decision to abdicate its own preservation responsibilities is particularly

problematic given that its employees made clear their incentives to hide conversations from legal

scrutiny. See, e.g., Rep. Ex. 64, GOOG1-00013039, at -045 (“I prefer not to be deposed for the

contents of kappa chat . . . It needs to be history off”). Indeed, these incentives were sometimes

discussed within the broader context of Google’s “Communicate with Care” policies. Rep. Ex.

65, GOOG1-00013021, at 022–023 (“should we have history off for this? . . . our chats about

google products are more likely to come up in court [laugh emoji] . . . just communicate with

care.”); Rep. Ex. 62, at -146 (instructing chat participants to “communicate with care” after

history was turned on); see also ECF No. 317. Knowing this, Google nevertheless delegated to

its employees complete control as to whether their “off the record” chats would be deleted.

        Even when Google employees attempted to preserve substantive chats, they faced

pushback from coworkers or managers who wanted their chats deleted. See, e.g., Rep. Ex. 66,

GOOG1-00012954, at -955 (employee advising of turning history to on to discuss RSAs and

being immediately asked to turn history to off). Indeed, company management encouraged

employees to use “history off” chats for sensitive conversations, modeled this behavior

themselves, and intentionally set the default retention setting—even for individuals under a legal

hold—to “history off.” See, e.g., Rep. Ex. 58, at -058 (responding to “the motivation for” turning

history off in a group chat, a user explained that “managers get skittish”). As described above,

see infra at 3, this practice existed throughout Google, from its CEO to a variety of teams and

professionals.



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       The unreasonableness of Google’s conduct is further evidenced by the work required for

an employee who wanted to comply with the litigation hold. To comply with a litigation hold,

when an employee started a new one-on-one chat, she would first have to recall that the hold

may have described certain circumstances in which default chat settings, as distinct from email

and other forms of communications, needed to be adjusted. She then had to confirm her chat

history setting. Then she would have to determine whether the conversation she was about to

have might concern a topic covered by a legal hold because turning “history on” only applies

prospectively, not to any prior chats in the chain. See Mot. at 1–2. Throughout the course of any

chat, she would also have to ensure that her chat partner did not change the setting to “history

off.” If the partner changed the setting and she became aware of that fact, she would need to—

within 24 hours—forward that “history off” portion of the chat to email or otherwise copy and

paste it into a document before it was permanently deleted. See Mot. Ex. 25.

       Google is, of course, the architect of the chat platform at issue and, as conceded by its

response, made decisions about the user settings and defaults. Burns v. Medtronic, Inc., 2017 WL

11633269, at *4 (M.D. Fla. Aug. 9, 2017) (“The court should be sensitive to the party’s

sophistication with regard to litigation in evaluating preservation efforts . . . .” (quoting FED. R.

CIV. P. 37(e), advisory committee’s notes to 2015 amendment)). Thus, once Google reasonably

anticipated litigation, it could have, as it had already done for other categories of chats, simply

automatically defaulted one-on-one chats to “history on” to ensure preservation of potentially

relevant materials. At an even more fundamental level, had Google wanted to assess the

reasonability and defensibility of its delegated processes, it could have monitored or audited

compliance with its litigation hold, which would have made clear that the risk of non-compliance

was real. See Mot. at 14 (citing Mot. Ex. 1, Tr. 46:8–17, 132:22–24); see, e.g., Rep. Ex. 67,



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GOOG-DOJ-32662132, at -132 (“Is there no way to turn history off for these spaces? . . . I don’t

even see the option as an administrator. I’ll deprecate this group so we can use the other.”).

                 ii.    Auto-Deletion Was Unreasonable

         Google fails to cite a single case that approved of a party automatically deleting an entire

category of potentially relevant written communications.

         Instead, Google cites cases showing that companies need not always search their

employees’ personal devices during discovery. See Def. Br. at 26. Because the chat platform at

issue here always belonged to Google, these cases are inapposite. For example, the company’s

reliance on La Belle v. Barclays Cap. Inc., 340 F.R.D. 74 (S.D.N.Y. 2022) is misplaced. La Belle

did not address spoliation and did not concern an auto-delete policy. In that case, the court held

that the company was not required to search employees’ personal devices when (1) the company

had a policy against using personal devices for work and (2) there was insufficient evidence that

any such texts on personal devices actually existed. Id. at 84. USI Ins. Services LLC v. Bentz,

2020 WL 7753690 (D.N.D. Dec. 29, 2020), is also inapposite: the defendant was not required to

seize and search personal devices because there was no evidence that employees conducted work

on them. Id. at *5–6. Here, given the widespread use of chats for work-related discussions,

Google clearly had a duty to preserve “off the record” chats.10

         Similarly, the Court should reject Google’s argument that auto-deleting chat records was

reasonable because “off the record” chats were supposed to be used “for short communications”

rather than substantive discussions. Def. Br. at 26–27. Google employees regularly used “history


10
     For that same reason, the Court should summarily reject Google’s observation that, of the
     chats Google actually produced, few were responsive to Plaintiffs’ discovery requests, and
     none were cited in any reports, depositions, or motions. See Def. Br. at 34. Google employees
     knew “off the record” chats would be destroyed yet did not change their “history off” default.
     See Mot. at 14. It is unsurprising that preserved chats were less relevant than those deleted.

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off” chats for candid business discussions. And, of course, the Federal Rules do not authorize

Google to delete relevant documents simply because they are conversational or short. FTC v.

Noland, 2021 WL 3857413, *9–10 (D. Ariz. Aug. 30, 2021) (reasonably foreseeable that deleted

Signal and ProtonMail messages were relevant); Borum v. Brentwood Vill., LLC, 332 F.R.D. 38,

45 (D.D.C. 2019) (a party is required to preserve evidence potentially “useful to an adversary”).

         To the extent that Google—a firm that has built its business around collecting and

preserving data—argues proportionality and burden, it should have raised those concerns years

ago and negotiated its preservation obligations with the United States accordingly.11 Regardless,

Google’s complaint that the amended Rule 37(e) does not require “perfection” is a strawman.

Def. Br. at 25, 28. Disabling auto-delete is not perfection; it is a basic obligation of civil

discovery in the ESI era. See, e.g., DR Distributors, 513 F. Supp. 3d at 979. Starline Windows

Inc. v. Quanex Bldg. Prod. Corp., 2016 WL 4485568, at *9 (S.D. Cal. Aug. 19, 2016) (party

cannot preemptively destroy evidence based on proportionality).

         Google’s limited efforts to meet its obligations to preserve chats are not reasonable.

         B.      The United States Was Prejudiced

         The United States was prejudiced by Google’s actions. Google intended to deprive the

United States of relevant evidence, so a presumption of prejudice is warranted. Even without a

presumption, evidence of substantial prejudice is plain.




11
     Google’s cases on proportionality, Def. Br. at 27, are inapposite. For example, in Bulies v.
     MSC Cruises, S.A., 2022 WL 2340959, at *1, *3 (S.D. Fla. Mar. 14, 2022), the court held that
     a cruise ship reasonably preserved a sufficient amount of video footage, showing the time
     before and after a slip-and-fall, in light of similar cases about video preservation—a question
     not presented here. Here instead Google deleted an entire category of documents.
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                i.      The United States Was Presumptively Prejudiced Because Google
                        Acted With An Intent To Deprive

         Whether Google acted passively or intentionally, because Google consciously failed to

meet its clear duty to preserve “potentially valuable information,” the Court can presume

prejudice. FED. R. CIV. P. 37(e)(2)(A); Borum, 332 F.R.D. at 47; see Mot. at 26–29; Capricorn

Mgmt. Sys., Inc. v. Gov’t Emps. Ins. Co., 2019 WL 5694256, at *11 (E.D.N.Y. July 22, 2019)

(“conscious dereliction of a known duty to preserve” ESI, whether “passive or active,” suffices),

report & recommendation adopted, 2020 WL 1242616 (E.D.N.Y. Mar. 16, 2020); GN Netcom,

Inc. v. Plantronics, Inc., 930 F.3d 76, 82 (3d Cir. 2019).

         For more than a year, Google has engaged with counsel in other matters regarding

destruction of “off the record” chats. Yet, Google never disclosed its chat destruction practices to

the United States (or other parties’ concerns about those practices), but instead continued

destroying chats of custodians in this case. Indeed, despite multiple inquiries by the United States

over the course of this matter, Google never corrected its misrepresentations as to the scope of

the company’s preservation and use of chat. See Mot. 6–11.

         Google looks for support in caselaw concerning negligence with respect to a party’s

preservation; that precedent cannot save Google’s conduct here.12 None feature a course of

conduct akin to Google’s, which includes (1) its choice to keep the auto-delete enabled for “off

the record” chats, despite anticipated and then actual litigation; (2) misrepresentations about and

failure to disclose this policy; (3) failure to monitor the ongoing preservation of relevant records;

and (4) regular exploitation of “history off’ chats by employees to conduct sensitive discussions


12
     Def. Br. at 34–39; see, e.g., Flores v. AT&T Corp., 2018 WL 6588586, at *9 (W.D. Tex. Nov.
     8, 2018) (evidence showed a “negligent continuation of its routine policy”); Brittney Gobble
     Photography, LLC v. Sinclair Broad. Grp., Inc., 2020 WL 1809191, at *9 (D. Md. Apr. 9,
     2020) (negligent failure to institute litigation hold after receiving third-party subpoena).
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free from civil discovery. See Mot. at 25–29. Google’s suggestion that any failure to suspend

auto-deletion of “off the record” chats is negligent is further contradicted by the fact that even

after the Epic sanctions motion was filed, this practice continued. See, e.g., Def. Br. at 35.

         Google lists its preservation efforts with respect to other categories of documents. See,

e.g., Def. Br. at 5, 36. These efforts do not alter the analysis here. The fact that Google did not

destroy more documents does not protect the company from the consequences of its spoliation.

Given the numerous chats showing that employees explicitly moved conversations “off the

record” to avoid legal discovery, Google’s intentional decision to outsource its preservation

obligations to those employees deprived the United States of the “unique, relevant evidence that

might be useful to” the United States—here, “history off” chat messages. See Def. Br. at 27

(citing Ala. Aircraft Indus., Inc. v. Boeing Co., 319 F.R.D. 730, 740–41 (N.D. Ala. 2017).13

         Google also argues, without evidence, that its auto-deletion was not intentional because it

was a function of product design. Def. Br. at 36–37. But Google itself designed the product and

configured all of its settings, including the retention period for the various types of chats. See,

e.g., Def. Br. 4–5. Google had the power to change these settings—including defaults and auto-

deletion—at any time, but chose not to. In fact, sworn testimony at the Epic hearing established

that Google could have preserved all chats for all employees on legal hold. Mot. at 13 (citing

Mot. Ex. 1, Tr., 43:22–46:17). It was not until immediately before the United States filed its

sanctions motion that Google finally started preserving all chats for custodians on litigation hold,




13
     In Alabama Aircraft—which Google relies on, Def. Br. at 27—the court sanctioned Boeing
     under Rule 37(e)(2) after an employee deleted potentially relevant emails and the company
     offered no “credible explanation” for why that evidence was not preserved in accordance with
     the company’s stated preservation measures. 319 F.R.D. at 746 (“unexplained, blatantly
     irresponsible behavior” supports a finding of “intent to deprive.”).

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thereby demonstrating the ability to do what it should have done four years ago. See Mot. at 2–3

(citing Mot. Ex. 4, at -415).

                 ii.    Google’s Spoliation Prejudiced The United States

         Even absent a presumption, there is overwhelming evidence of prejudice. By routinely

and systematically destroying “history off” chats after Google’s employees moved responsive

and relevant conversations to that forum to avoid discovery, Google prejudiced the United

States. Accordingly, curative sanctions, of a character and scope to be resolved through

evidentiary hearing, are warranted under Rule 37(e)(1). See Mot. at 20–24.

         At bottom, Google’s rejoinders to the United States’ prejudice arguments assume away

the significance of the volume of destroyed chats and indulge, without a legal basis, every

assumption against the relevance of the destroyed chats. Cases that Google cites on prejudice are

distinguishable because they involve narrow pieces of lost or allegedly lost evidence, Def. Br. at

30–31, a sharp contrast to the across-the-board destruction of an entire category of materials for

all 129 document custodians that Google admits occurred for nearly four years.14 The fact that

the overall volume of destroyed materials is, because of Google’s actions, unknowable is not an

argument against prejudice.

         In large part, Google again argues that the United States was not prejudiced because the

company produced four million documents in this case. Def. Br. at 3, 25, 32–33. As noted above,

there is no production-volume defense to spoliation. Google also notes that the Plaintiffs took


14
     See, e.g., Dickerson v. D.C., 2022 WL 656172, at *7 (D.D.C. Mar. 3, 2022) (performance
     reviews irrelevant to legal issues); Steves & Sons, Inc. v. JELD-WEN, Inc., 327 F.R.D. 96,
     108, 110 (E.D. Va. 2018) (narrow category of allegedly lost “notes or memoranda,” where the
     employee at issue was “steadfast” that he never actually took any notes). Other cases cited by
     Google are inapplicable for other reasons. For example, the court in Marshall v. Dentfirst,
     P.C., 313 F.R.D. 691, 697 (N.D. Ga. 2016), found no prejudice because the lost documents
     were irrelevant as a matter of law under the applicable legal standard.
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depositions of more than 50 Google witnesses, see id. at 32, but the prejudice actually grew

during these depositions: the United States had no opportunity to confront those witnesses with

documents that Google destroyed. See, e.g., Jones v. Hirschbach Motor Lines, Inc., 2022 WL

4354856, at *4 (D.S.D. Sept. 20, 2022) (holding that “the evidence Hirschbach produced and the

depositions conducted are not suitable replacements for the recordings Hirschbach erased”).

Moreover, the United States may have elected to depose different custodians, had their “off the

record” chats been produced.

       More fundamentally, the record is clear that many of Google’s employees consciously

exploited the company’s 24-hour chat destruction policy, providing a ready forum for sensitive

discussions that employees wanted to shield from scrutiny. Indeed, employees discussed

sensitive topics via chat because they knew other communication methods were subject to

production. See, e.g., Rep. Ex. 68, GOOG1-00013031, at -032–33 (“Since history is turned on,

be mindful of putting anything discoverable here . . .”). Thus, Google overreaches in relying

upon FTC v. DirecTV, Inc., 2016 WL 7386133 (N.D. Cal. Dec. 21, 2016), which concerns a

technical dispute over the format in which DirecTV preserved backup materials. See Def. Br. at

32. That is far afield from the spoliation that occurred here.

       Google’s argument that there is no “cognizable” prejudice in “the context of what is

actually at issue in these cases” is also wrong. See Def. Br. at 33. As the United States’ summary

judgment opposition papers make clear, there are an array of disputed factual issues to resolve at

trial. See generally ECF No. 476. Given just the examples cited in this reply, “history off” chats

could have been a fruitful source of unguarded, candid conversations among Google employees

that could bear on credibility, motive, bias, as well as a host of substantive issues. Although

Google discusses its distribution agreements as an example where “history off” chats purportedly



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would have shed little light, see Def. Br. at 33, that is also wrong: distribution agreements

illustrate the type of issue that Google told its employees to avoid discussing over email and that

they discussed over history-off chat instead. See ECF No. 317-1, at 4–6 (slide deck reminding

Google attendees to “communicate with care” and “always keep in mind” that “any written

communication regarding Rev Share and MADA should include Legal” (emphasis in original));

see also Rep. Ex. 69, GOOG-DOJ-32674007, at -010 (discussing RSA and noting that

“‘competitive’ is NOT a word you should use”).

       Google’s routine destruction of written communications was not reasonable and the

company’s failure to preserve documents prejudiced the United States. Accordingly, Google’s

conduct is sanctionable.

III.   An Evidentiary Hearing To Determine The Scope Of Sanctions Against Google Is
       Appropriate

       The United States’ Motion seeks an evidentiary hearing and additional materials in

advance of the hearing. Mot. at 29–31. Both of these requests are necessary and reasonable.

       In particular, the United States’ requests seek information specific to what Google has (or

has not) done as part of its discovery obligations in this case. There is not, for example, specific

information regarding all custodians’ chat practices in this case—information that the United

States could not obtain without deposing each of the 129 custodians in the case. The recently

produced chats contain a subset of the custodians in this case (those 72 custodians that overlap

with Epic and who had chats responsive to the recent Epic searches); substantively, any chats

reflect searches performed on issues relevant in Epic. Thus, although directionally instructive

and helpful, production of these chats does not ameliorate the prejudice to the United States in

this case. Nor do the recently produced Epic chats provide any type of relief here, as they do not

substitute for chats that Google destroyed, daily, over the last four years; include all of the

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custodians identified in this matter and whose documents were searched; or substitute for chats

that would have been identified using search strings customized to this case.

       Furthermore, because Google refuses to produce its litigation hold, the United States

cannot determine which custodians received the hold and when, what they were instructed to do,

or how they were reminded of their preservation obligations. Considering that Google uses its

litigation hold as a defense, a 30(b)(6) deposition about that hold will develop the appropriate

record in support of curative sanctions.15 The Google employee designated to testify as to

Google’s litigation hold in Epic had no knowledge of the case’s specific litigation hold and was

not aware of how that hold was “rolled [] out.” Rep. Ex. 70 (excerpt from Jan. 12, 2023 Epic

Evidentiary Hr’g) Tr., 37:17–38:18. And now that Google has chosen to end its chat destruction

policy for those custodians on litigation hold, a process that occurred only after the Epic

evidentiary hearing and on the eve of the filing of the United States’ Motion, understanding the

circumstances around that process will help bring to light the scope and rationale behind

Google’s current and prior policies. See Mot. Ex. 52 (proposed 30(b)(6) schedule).16

       For these same reasons, the Epic evidentiary proceedings are no substitute for this

Court’s own hearing. By providing the requested materials in advance, moreover, the proposed

proceeding can be efficient and tailored to address any outstanding questions regarding what




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   Litigation holds are not per se privileged, contrary to Google’s suggestion. See Def. Br. at 40–
   41; see, e.g., Roytlender v. D. Malek Realty, LLC, 2022 WL 5245584, at *4 (E.D.N.Y. Oct. 6,
   2022) (“[L]itigation hold letters may indeed be discoverable where there has been a
   preliminary showing of spoliation.”) (citing cases). Particularly where a litigant, such as
   Google, attempts to use its hold as a sword and a shield, the Court can and should order
   production of the hold.
16
   In lieu of requesting declarations and a 30(b)(6) deposition, the United States offered to
   stipulate to custodians’ use of “history off” chats. Google declined. Mot. Ex. 4, at -416.

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steps Google took in this case to preserve documents, and the impact of Google’s preservation

failures on the issues in this case.

         Accordingly, the Court should reject Google’s argument that the United States seeks

“discovery on discovery.” Def. Br. at 39–42. The information that the United States requests in

conjunction with its Motion does not go to the underlying facts of this litigation, and is certainly

not a “dressed-up motion to compel.” Id. at 41. Rather, the information is sought as a preemptive

attempt to focus the issues at an evidentiary hearing, with the goal of reducing the burden on the

Court.

                                         CONCLUSION

         The United States respectfully requests that the Court (1) hold that Google has engaged in

spoliation in violation of Rule 37(e); (2) order an evidentiary hearing to assess the appropriate

sanctions to remedy Google’s spoliation; and (3) order Google to provide further information

about custodians’ history-off chat practices, through written declarations and oral testimony, in

advance of the requested hearing.


 Dated: March 24, 2023                         Respectfully submitted,


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